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Case ORI

In the Auited States Court of Federal Clarins

 

No. 14-1211C
(Filed: February 18, 2015) FILED
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P FEB 18 2015
STEVEN R. LISTWA, # U.S. COURT OF
: FEDERAL CLAIMS
Plaintiff, =
*
Vv. *
*
THE UNITED STATES, z
e
Defendant. *
*

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DISMISSAL ORDER

On December 17, 2014, Plaintiff Steven R. Listwa filed a pro se complaint against
the United States alleging that the U.S. Army unlawfully withheld pay from him for his
military service during February and March 1966. Compl. 1. Mr. Listwa states that he
has attempted to collect this pay from the Army since 1966 without success, and he
demands payment for two months of service, plus approximately 49 years of accrued
interest and penalties. Id. at 2-3. On January 13, 2015, Mr. Listwa filed an amended
complaint asking the Court to reprimand the Defense Finance and Accounting Service
(“DFAS”) and the National Personnel Records Center (““NPRC”).

An action for withheld military pay in the Court of Federal Claims must be filed
“within six years after such claim first accrues.” 28 U.S.C. § 2501. A cause of action
accrues when “all events have occurred that are necessary to enable the plaintiff to bring
suit.” Martinez v. United States, 333 F.3d 1295, 1303 (Fed. Cir. 2003). The six-year
statute of limitations is “‘jurisdiction[al]’ and not susceptible to equitable tolling.”
FloorPro, Inc. v. United States, 680 F.3d 1377, 1380-81 (Fed. Cir. 2012) (citing John R.
Sand & Gravel Co. v. United States, 552 U.S. 130, 136-39 (2008)). In this case, in order
to be timely, Mr. Listwa’s lawsuit should have been filed not later than March 31, 1972.
For the Court to consider the merits of a lawsuit filed on December 17, 2014, the cause of
action must have accrued since December 17, 2008. Thus, Mr. Listwa’s action based
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upon events that occurred in February and March 1966 is barred by the six-year statute of
limitations.

On February 9, 2015, Mr. Listwa filed a “Request for Dismissal” of this case for
reasons unrelated to the issues discussed here, and that request will not affect the
outcome of this case.

The Court has raised this jurisdictional issue sua sponte without requiring
Defendant to file a dispositive motion. See Folden v. United States, 379 F.3d 1344, 1354
(Fed.Cir. 2004) (“[sJubject-matter jurisdiction may be challenged at any time [including]
by the court sua sponte”); see_also Rule 1 of the Court (rules “should be construed and
administered to secure the just, speedy, and inexpensive determination of every action
and proceeding”). Accordingly, Mr. Listwa’s complaint is hereby DISMISSED without
prejudice.

 

IT IS SO ORDERED.

THOMAS C. WHEELER
Judge

 
